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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,             )
11                                         )         No. CR 05-00648-MJJ (WDB)
                                Plaintiff, )
12                                         )
              v.                           )
13                                         )         ORDER MODIFYING RELEASE
     MAURICE FRAZIER                       )         CONDITIONS
14                                         )
                               Defendant. )
15                                         )

16

17                                               ORDER
18        Good cause appearing therefore,

19        IT IS HEREBY ORDERED that the release conditions in this case be modified to permit Mr.

20   Frazier to attend college courses, not within Contra Costa County, as directed and permitted by the

21   Pretrial Services Agency. It is further

22        ORDERED that all other release conditions imposed in this case shall remain in effect.

23   Dated: January 11, 2006

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25                                             _____________________________________________
                                                     HON. WAYNE D. BRAZIL
26                                              UNITED STATES MAGISTRATE JUDGE
